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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________

CINDY GAMRAT,                                              Case No. 1:16-cv-1094

        Plaintiff,
                                                           Hon. Phillip J. Green
v.

JOSHUA CLINE, JOSEPH GAMRAT,
and DAVID HORR,

        Defendants.

 Tyler E. Osburn (P77829)                        Mark R. Dundon, of counsel
 SCHENK, BONCHER & RYPMA                         DAILEY LAW FIRM, P.C.
 Attorneys for Plaintiff                         Attorneys for Joshua Cline
 601 Three Mile Rd. NW                           36700 Woodward Ave., Ste. 107
 Grand Rapids, MI 49544                          Bloomfield Hills, MI 48304
 (616) 647-8277
 Paul T. Vlachos (P39506)                        David Horr
 Brian E. Weiss (P51502)                         Defendant, In Pro Per
 VLACHOS & VLACHOS, P.C.                         821 Sanborn St.
 Attorneys for Defendant Joseph Gamrat           Port Huron, MI 48060
 5659 Stadium Drive                              (810) 858-3287
 Kalamazoo, MI 49009


 (269) 375-6646
    Brief in Support of Plaintiff’s Motion to Extend Deadline to File Motion to Amend
                                         Pleadings

        On May 14, 2018, this Court entered a Case Management Order in this case. Pursuant to

the Case Management Order, the parties were allowed to file motions to join parties and amend the

pleadings on or before June 15, 2018. Prior to June 15, 2018, Gamrat was made aware of a

multitude of documents that would support her allegations and form the foundation for an

amended complaint. Gamrat’s counsel was under the impression that these documents would be

made available for his use prior to the deadline. However, Gamrat’s counsel received word just
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this afternoon that the documents would not be available for use for another couple of weeks.

Gamrat, therefore, is unable to file an amended complaint without this evidence.

        W.D. Mich. L. R. Civ. P. 16.1 states that “[u]pon good cause shown or on the Court’s own

initiative, the Court may modify the case management order in the interest of justice.” In this

case, it is important to remember that Gamrat has never had the opportunity to conduct formal

discovery. She is finally being allowed the opportunity to begin discovery as it relates to the three

Defendants still in the case, but the lion’s share of documents that she has been able to procure to

support her case up to this point has had to come via third parties. Gamrat was not made aware of

the documents above until after this Court ruled on Defendants’ Motions to Dismiss and while her

motion for reconsideration was pending. Further, it is information that would be difficult for

Gamrat to obtain via other means, as it involves Defendants no longer in this case. In the interests

of justice, Gamrat is requesting 30 days in order to have the option of filing an amended complaint

based on this new evidence to which she anticipates having access and the ability to attach to an

amended complaint. There was no undue delay in filing this motion, and certainly no dilatory

motive in waiting until the afternoon of the deadline to file this motion—Gamrat’s counsel was

just made aware this afternoon that the information would not be available to attach to an amended

pleading. Defendants would also not suffer any prejudice, as the deadline would be extended for

all parties.

        For the reasons set forth in this brief, Gamrat respectfully requests that this Court grant her

Motion to Extend the Deadline to File a Motion to Amend Pleadings for thirty days.




                                     Signature Page to Follow


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                                                                             Respectfully Submitted,

                                                                             SCHENK, BONCHER & RYPMA

Dated: June 15, 2018                                                   By:        /s/ Tyler E. Osburn
                                                                             Tyler E. Osburn (P77829)
                                                                             Attorney for Plaintiff
                                                                             601 Three Mile Road NW
                                                                             Grand Rapids, MI 49544
                                                                             (616) 647-8277
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